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               EXHIBIT B
10/21/2017                              (58) Eric Nielsen
                        Case 3:17-cv-02026-JBA            - Thanks for all1-2
                                                       Document           that ConﬁgAir
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                                                                                           done for OpenM...
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                                     Eric Nielsen ConfigAir                                                            People You May Know                     See All
                                     March 8 ·                                                                                 Mario Bravo
                              Thanks for all that ConfigAir has done for OpenM Tech, we appreciate                                  Add Friend
                              the excellent work and consider you. a tier one provider.
                                                                                                                                Bleron Mustafa (Bleron)
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                                 2ConfigAir and Nizwer H                                             Chronological              Bertran Lekibi
                                                                                                                                    Add Friend
                                    Henry Kurz My name is Henry Kurz and until this wednesday I was vice
                                    president and CTO of ConfigAir. I lost my job and title because I wanted our
                                    CEO to work in a way that is appropriate for IT business. He keeps
                                    accepting deadlines which are impossible to realize without even asking
                                    development about the feasibility. It was always vice versa. Deadlines were        English (US) · Español ·
                                    usually like in a garage company "end of today", set by the CEO and not by         Português (Brasil) · Français (France) ·
                                    the development team. On top of that he works now directly with                    Deutsch
                                    developers in a desasterous way.
                                    As his wife already said that whenever Trump becomes president, she                Privacy · Terms · Advertising · Ad Choices ·
                                    wants to leave the US, the CEO and his wife since then pretty much leave in        Cookies · More
                                    the Czech Republic where our development department is. The department             Facebook © 2017
                                    is located already at the CEO's home town in the Czech Republic, a location
                                    which was absolutely stupid to chose as only developers fresh from
                                    University would be available. More experienced developers directly go to
                                    bigger cities like Prague. Since then the CEO works on a daily basis directly
                                    with the development team without being qualified to do so. He thinks he is,
                                    but he is not.
                                    I have built pretty much all software which ConfigAir sells with my own bare
                                    hands. CAL, the web ui, the visualization. Due to the contract I signed with
                                    ConfigAir, they take all this away from me by law but they have with me
                                    departing nobody except for one senior developer left who can properly
                                    maintain this software. And this one remaining senior developer works
                                    regular business hours for Czech Republic ‑ no late nights and no
                                    weekends. And he leaves in Prague ‑ not in this city where our development
                                    office is located. So the rookies won't gain from his experience. Even
                                    escalations will from now on have to wait for the next monday. Things like
                                    the visualization were already ruined by our CEO working directly with
                                    rookies on demos. The standard code contains many "if you are the object
                                    of client X, then do this or that". It's not maintainable any more and more
                                    will follow with our CEO working directly with rookie developers instead of
                                    professional architects. I was even made responsible for what happened
                                    there. Communication went appart from me and it should have been my job
                                    to then find these things and fix them. How stupid is this imagination???
                                    This communication doesn't bypass any architect in a well organized IT
                                    company, so these things usually never happen at all. ConfigAir's CEO is
                                    trying to micro manage all parts. Unfortunately also those parts that he's
                                    not qualified for.
                                    ConfigAir's CEO is absolutely resistent to any criticism and rather prefers
                                    getting rid of the vice president instead of thinking that he should actually
                                    change some things on his behavior.
                                    I have 17 years experience with configuration UI's. Without any input from
                                    my side, our CEO has started to build a new UI together with rookies fresh
                                    from the University. He thought it was ok by just having me invited to the
                                    ongoing calls, but even the selected technology is wrong and that should
                                    have required my input at the start of this project ‑ not on a running thing,
                                    being just invited. The person leading the development has about one year
                                    of experience, which he collected in our company with the software that I
                                    have built and with development of a senior developer who left already the
                                    company seeing where this company is heading towards. The chosen
                                    technology is the wrong one to support the landscape that ConfigAir had in
                                    mind. I could have said that right away before this project even started, but
                                    I was never asked. Our CEO thinks he can do that without my input.
                                    At this point I am only doing knowledge transfer to ConfigAir, leaving at the
                                    end of this year. Starting with January 1st 2018 this company will pretty
                                    much exist of people fresh from the University and one senior developer,
                                    who I can say is good, but due to his location he will not train the other
                                    developers which are far away from Prague and he will only be available
                                    during regular Czech Business Hours. The 24/7 support from ConfigAir is a
                                    joke now. There is nothing like that. This company will fail to architect
                                    things properly or to deliver quality software in time. Software will be full of
                                    demo driven code that is impossible to maintain and which leads to down
                                    times in production systems.
                                    I don't know yet where I will work next as the contract with ConfigAir pretty
                                    much disallows me to do any kind of work at all, but if you are an existing             Chat
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                                    customer and want to be helped professionally, please contact me directly.
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